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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          STATESBORO DIVISION

  TRACEY WILSON,

         Plaintiff,

  V.                                          CASE NO.:

  ALLY FINANCIAL INC.,                        DEMAND FOR TRIAL BY
                                              JURY
         Defendant.                                CYGl"? 038

                                 COMPLAINT


       Plaintiff, Tracey Wilson (hereinafter "Plaintiff'), by and through the

undersigned counsel, sues Defendant, Ally Financial Inc.(hereinafter "Defendant"),
and in support thereof respectfully alleges violations of the Federal Telephone

Consumer Protection Act,47 U.S.C. § 227 ei seq.("TCPA").

                               INTRODUCTION


       1.     The TCPA was enacted to prevent companies like Defendant from

invading American citizen's privacy and to prevent abusive "robo-calls."

       2.    "The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls." Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740(2012).


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